Case 1:20-cv-01125-SM   Document 154-1   Filed 12/09/24   Page 1 of 4




                        EXHIBIT A
         Case 1:20-cv-01125-SM         Document 154-1        Filed 12/09/24     Page 2 of 4




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

                                                      :
    Kinetic Systems, Inc.                             :
              Plaintiff,                              :
    v.                                                : Civil Action No. 1:20-cv-1125-SM
    IPS-Integrated Project Services, LLC, and         :
    Lonza Biologics, Inc.                             :
              Defendants.                             :
                                                      :


                           AFFIDAVIT OF ATTORNEYS' FEES AND COSTS

         I, Peter G. Callaghan, being duly sworn, state as follows:

         1.       I am over 18 years of age and am competent to testify to the matters addressed in

this affidavit.

         2.       This affidavit is based on my personal knowledge.

         3.       I am a Director with the law firm of Preti, Flaherty, Beliveau & Pachios, PLLP,

which represents the Defendant, IPS-Integrated Project Services, LLC, in the above-captioned

matter. I was admitted to the New Hampshire Bar in 1989 and have considerable experience as a

trial lawyer. I am a Fellow in the American College of Trial Lawyers.

         5.       My services were initially provided to IPS at my standard hourly rate ($395 which

was increased to $410) but then it was reduced to $325. I was assisted at times by other attorneys

in the firm with a deposition, legal research and brief writing, as well as document review and

analysis, including Daniel Sonneborn (Director), Nicholas Dube (Associate) and Harper

Weissburg (Associate). Senior Paralegal Stacey Peters provided the vast majority of paralegal

support with ESI document collection and production, document review, preparation of summaries

and presentation of evidence at trial, and was assisted by other paralegals, including Sonja


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      Case 1:20-cv-01125-SM           Document 154-1          Filed 12/09/24    Page 3 of 4




Belanger, Marie (Labrie) Rienzo, Eric Rosenberg, Maria Maffucci, and Michelle Beasley. Each

individual’s hourly rates are set forth in the table below.

 Timekeeper                        Year(s)                          Rate(s)
 Peter Callaghan                   2020-2024                        $325-$410
 Daniel Sonneborn                  2023                             $325
 Nicholas Dube                     2020-2023                        $240-$260
 Harper Weissburg                  2022-2024                        $225-$265
 Stacey Peters                     2021-2024                        $175
 Sonja Belanger                    2022-2023                        $175
 Marie (Labrie) Rienzo             2021-2023                        $175
 Eric Rosenberg                    2022                             $175
 Maria Maffucci                    2021                             $175
 Michelle Beasley                  2022-2023                        $175


       6.      We retained an expert witness to review and rebut the expert witness retained by

the Plaintiff (William Ibbs) who opined on the Kinetics unapproved change order claim. Robert

D’Onofrio billed $76,000 for his services which included a deposition. He did not testify at trial

because his opinion did not address the back charges.

       7.      Kinetics and IPS each retained expert witnesses to address the unapproved change

order claims and virtually all of the discovery (12 witnesses were deposed, and well over 150,000

pages were produced, including 41,830 by IPS and over 90,000 by Kinetics) involved those claims.

       8.      IPS has incurred legal fees in the amount of $822,767, for 3,426.3 hours of attorney

and paralegal time to. IPS incurred costs in the litigation of $85,708.63. These amounts are

reflected in the firm’s billing records based on time and costs entries made contemporaneously.


FURTHER AFFIANT SAITH NOT.



Dated: December 9, 2024                        /s/ Peter G. Callaghan
                                               Peter G. Callaghan




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      Case 1:20-cv-01125-SM          Document 154-1        Filed 12/09/24     Page 4 of 4




STATE OF NEW HAMPSHIRE
COUNTY OF MERRIMACK

       Before me on this 9th day of December 2024 personally appeared the above-subscribed
Peter G. Callaghan and made oath that the statements contained are true and correct to the best of
his knowledge, information and belief.

                                             /s/ Angela S. Snell
                                             Notary Public/Justice of the Peace
                                             My Commission Expires: August 18, 2026




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